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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MONTANA
                     BILLINGS DIVISION
UNITED STATES OF AMERICA,

        Plaintiff,                      Cause No. CR 23-07-BLG-SPW

vs.

KYLE RICHARD LEWELLEN,                    ORDER TO CONTINUE
                                        CHANGE OF PLEA HEARING
        Defendant.

      The Defendant, Kyle Richard Lewellen, through his attorney,

moved this Court to continue the change of plea hearing in the above-

captioned case. For good cause appearing, and there being no objection

from the Government;

      IT IS HEREBY ORDERED that the change of plea hearing

currently set for Tuesday, the 14th day of November, 2023 at 2:00

p.m. is hereby CONTINUED and reset for __________, the ____ day of

__________, 202___ at ___ o’clock __. m., before the Hon. __________.

      DATED this          day of November, 2023.


                                        _________________________
                                        Hon. Susan Watters
                                        U.S. District Court Judge

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